          Case 2:15-bk-11688-VZ                  Doc 320 Filed 04/30/24 Entered 04/30/24 11:38:31                                        Desc
                                                   Main Document Page 1 of 1

 Attorney or Trustee Name, Address, Telephone & FAX                          FOR COURT USE ONLY
 Numbers, State Bar No. & Email Address


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     Attorney for chapter 7 trustee
     Chapter 7 trustee

                                         UNITED STATES BANKRUPTCY COURT
                                CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
 In re:                                                                      CASE NO.: 2:15-bk-11688-VZ
                                                                             CHAPTER: 7
 SHASA USA LLC
                                                                                   ORDER ON TRUSTEE’S MOTION FOR
                                                                                  APPROVAL OF CASH DISBURSEMENTS
                                                                                            [LBR 2016-2]

                                                                                   No hearing held
                                                                                   Hearing held




                                                              Debtor(s).

Based upon the trustee’s cash disbursement motion filed as docket entry number 316 (Motion), the Motion is:

   Granted. The trustee is authorized to disburse funds from the estate for the expenses set forth in Exhibit B to the
   Motion.

                                                                          ###




                 Date: April 30, 2024




          This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

                                                                        Page 1                     F 2016-2.2.ORDER.TRUSTEE.DISBURSE
